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EXHIBIT A
Case 1:22-cv-01537-SEB-TAB Document 1-1 Filed 08/03/22 Page 2 of 7 PagelD #: 22

Loan No: [SS CONSUMER INSTALLMENT LOAN Effective Data: 9/80/2024
Application Data: 9/29/2021 AGREEMENT Malurity Date: 08/05/2022
This is the date you signed and submitted this application to the

lander.

THIS AGREEMENT SHALL NOT CONSTITUTE A NEGOTIABLE INSTRUMENT:

Borrower's Nemo: Rankin Michelle

Lender's Naine: Opichi d/b/a Evorgrean Servicas
Actress: PO Box 834 sorrows
City,. Suite; Zip. Lacdu Flambeau, Wi 54539 ae Addras
Phone: BG+328-2586 i

in this Consumer on Agreoment (‘Loan:Agreement’); the wards ‘you.” "your,”-and “I” mean. ihe borrower who ‘has signed this agreement. The words ‘we", "us" and.‘our mean Opichi OBA Evergreen
Services (Lontar or “Evorgraan Services’) an entity owned by'a Fedarally Recognized Native Ametican Tribe. Lac vu Flambeau Band of Lake Sup Ghippewa Indians of in. Tbe")
*Loait” thaans this consumer installment loan. :

CONSENT TO ELECTRONIC. COMMUNICATIONS: The fotowing. tenmns:and condilions gover slectranic comm ons in car jon. with this Loan Ag and-tha ac Al hereby
(ine “Cansent"). By- electronically | signing ihis Loan Agreement below; you are coniming that you nave: agreed to the terms and concdilions of the Corisent and thal you have downloaded or printed a
copy of this Consent for your focords, You agraa: Any disclosure, ndlice; record. orother pa of intonation that fs providad toyouin onngeticn’ with your fransaction wilh us, indluding but nol limited
to, this Loan Agroemen|, Us Consent, the Truth in Lending disclosures sat forth herein, ‘changa:in-lerms notices, 68 and ‘wansaction in d disbursement falters, notices of
adverse action, applicable: stale mandated brochures and disclosures, and transaction information (‘Communeations’); may be sant to you' eacironically by: sanded ito you by e-mail, or by-posiing the
information at our wed sile as permitted by applicable law.

We. will mot be. obligatad ta provide any Communication ta you in paper foem unless you specifically request us to do.s0, You may obtain a.copy of-any. Communication by conlaciing us:at:Evergrean
Servicas; a Thbal LLC, PO Hox 834, Lac du Flambeau; Wi 64698-0¢ by calling us-at 866-328-2556. You will not'be charged a fee for such copy, You also can wiliidraw your cansent:to ongoing elactranic
communications In the-same manner,.and ask that they bo-sent to-you in paper or.non-stectronic form. You agree to provitie-us wilh your currante-mail address for notices: at the:address or phone
number Indicated above. If your e-mail addrass changes, you must send us.a notice of Ino now address by writing to us'or seriding Us ‘an‘e-mall, using socure:mossaging, ot least five'(S) days before
tha. change. In order to fecatve elecironic cor in with Ins Iransacton, you will need:a working connection to the Intemet ‘Your browser must-support the Secure Sockets Layer
(SSL) protocol, SSL provides:a sacute clisnnel to Sendatd recelve'data over the Internat through HS oneryplion capabilities. Netscape 4,7+and above and Microsoft Intemat Explorer.6.01+ and above
support this faatura, You will aiso noed‘oithar a printer cont to yolir computer to. print dislosyresinolices of sufficient hard drive space avaiable to Save the information {@.9.. 1 megabyte of mora).
Wa'do nol provide. ISP ‘services, ‘You must have your own Inlemet Service Provider. We may ainand,(add 10, dalele’ or changa) the tarms:of this consent to elactranic disclosure by préviding you with
advanbe notice, in accordance with applicable-taw. Your signaitira batow is: an electronic signature thatis fully enlorceable against you in accordance with the terms of this “Agreamient, By electronically
Signing this Lean Agrasmant below. you aro conhrming that (1). your sysiam masts tha paguiraments.set forth above, {2) you agrae to recaive Communications electronically; and (3) you-are abjato
sceess and print of store intormalion prasented at this website,

F7 By checkity ils bok ‘you hereby !agres Io the terms of Ihis Consentto Bidelronie Communica
YOUR ELECTRONIC SIGNATURE: You acknowledge and ayroe that whan you type your name In the Indicated boxes an this ‘ YOU are p g your elactranic signature on this SOCUTHERt. By
elactronically signing this document, you are agreeing to all the (ens and conditions sai forth inthe Agreement. and certifying (hat all-ir you have provided Jn \with this ction is

‘complete and accurate. You ayree tat your electronic: signatute Shall have {he samp force and: affect, and shall bind you to this  Agraement in tho sama-mannér and fo the true extent ag a physi¢al
signature would do, in accordance with the Electronic Signalures'in Gtobal and National Commerce Act (* ESIGN’) to the exlént applicable, You'alse agree that this Agreement and all: ralaied decuments,
are olecironic records and that; 4s. such, they may bv transferred, authanticated, stored; and-transmitted by: electronic means.

TRUTH-IN-LENDING DISCLOSURES

. ' Maximum Amount of
ANNUAL PERCENTAGE RATE FINANCE CHARGE Amount Financed Total Payment

The dollar amount the credit willeost - The amount of crodit Providad-to youor The amount you will -have pald affor you
you, / on your behalf, have made all paymonts as schedulod,

The cost of your credit as a yearly rate.
762.29% °$4,928,00 $300.00 $1,428,00'

Your Payment Schedule (The “Payment Schedule") will be:

Number of Payments Amount of Payments Gua‘ Data

1 $90.00 ‘October 15, 2021
2, $80.00 October 28,2021
3 $405,00 Novembor 12)-2024
4 $100.50 Nevamber26, 2021
6 $96.00 Dacentber 10,2021
6 891,50 December 24,2021
7 387/00 January 7,.2022
é- $82.50 January 21,2022
9 378.00 February 4, 2022
10 $73.50 February 18, 2022
1 $69,00: March 4; 2022
12 $64,60' Maroly:18, 2022
19 $60.00 Ajit i, 2022
14 $85:50, ‘Apeil'18, 2022

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18: $54.00 Api 29, 2028
18 $46.50 May13, 2022:
7 $42.00" May.27; 2092
18 SIPSD.- dure’ 10/2022
19 $33.00 dhune'24, 2022
20 | $28.50
ai $24.00: djuly:22; 2022.
22. $19.50) “Auiglist 5, 2032
Tota ST A2500

Late Payment Foe: I's payment Is tate, you will be charged 3 fee of $30.00

Non-Sufficient Funds: Fee: if your paymept is réturied for nompaysienl for any reasoil, you will be thangad a fee dt $25.

Security Interest: It'you hava chosen. the ACH Authorization Splish, your ACH authorization js seciirty for-thistoan, Ifyou.da. not guthonze ditomatit payments, you: are not yiviag.us-a secuiity
infarest, sO :

Prapaymant: It you-pay aff daily, you will: not have lo.pay-8 prepayment perialty,

See ihe lenqig of the Loan Agrdement belo tor any additional information about nonpayment, default, any raquired repayment in full, betora tha schisduled maturity. date, afta prapaymeny ratunds.

{e) means estimate,

We here.at. Evergrasn Services. want:you-te undarstand your Laan,

PLEASE UNDERSTAND THE FOLLOWING:
4, Thisloans.designed'as-a short-term. cash-flaw solutlon.and Is not designed as:a solution for Jonger tari financial problems.

2 Additional Fees.may accrue, if this loan is:rollad ovar:
3.. Credit counseting sarvieas-arevavallable:to. consumers: who-are experieneing fi financial problema;

ITEMIZATION OF AMOUNT: FINANCED: Amount given.to you diraclly- $300.00

THE TOTAL. OF PAYMENTS SHOWN IN THE CHART ABOVE REPRESENTS THE MAXIMUM TOTAL OF PAYMENTS THAT WILLBE PAID IF ONLY THE MINIMUM PAYMENTAS MADE OW EACH
DUEDATE: YOUR ACTUAL TOTAL AMOUNT PAID FOR THE LOAN WILL BE SIGNIFICANTLY LESSIF-YOU ADD AOQDITIONAL AMOUNTS TOTHE! fAINIMALIRE: PAYMENT DUE ON EACH QUE
SATE OR IF YOU PAY: ‘ORF YOUR LOAN SOONER. THERE IS NO: PREPAYMENT PENALTY.AND THELOAN CAN BE PAIO OFF AT ANYTIME: EVERGREEN SERVICES, Lic RECOMMENDS
PAYING OFF YOUR LOAN-THE 'SOONEST’ ‘YOUR, FINANCIAL, BUDGET ALLOWS,

YOUR PROMISE TO.PAY: Vou promise te pay us of our ageiqnes the Total at Payrnants according.tu.the.terms:at’ ihe-Disclosires sat forth inthis Agreamantiand ‘other permitted: charges-on'the
dates.stated in your Payment Schadula set torth-above, Pre-computed interest is calculated from the Disbursement Dale las defined below) -hased upon ha-assumption that you.will.pay.usas

-‘schedulad ortaach Payment Due Data,

PAYMENTS: You promise:to pay. the amount. of:lhe:Total'of Payments shawn above in accordance with tha Paymant: Schedule set forth-above. Ifyou have: choseri to repay your Loan vid an
Automated-Clearinghouse PACH’) dabit to'your Bank Account: then each payment plus.any fees:due tous (if applicable), will’be debited from-your Bank Account on wach ‘Payment Dus:Date'set
fortt’apova, The ACH Auihodzatlort must be separately eecuted and is sat fort below, Completion of he ACH Authorization is not raquifad to oblain-a'loan from us. you ‘Nave chosanto repay
your Loan via:certified check or rianey order, please mail your payments te PO Box 824, Lac du Flambeau, WES4538so nat Uey are racalved by usioniar bers: chi Payinent Due Dals. Plasse
be sure'te inglude your Loar numtier an-your ayment Instrument to facilitate ceelitiiag. 10: your Agcounl. All mailed payin is must neBeh us ‘bys “PM. Sentral’ Tits onthe Payment ‘Due Rate, You:
acknowledge tind agree! that Weihave not inade. this Loan-coniingent upon your: “OBTAINING any. oftier praduct or service’ frm: 0S.

at, Alli prapaymoante will be-applind in the same order, Both tha dmaunt of interest
egal fonh above.

PAYMENT APPLICATION, “All payments will-be applied fi rat.to feng.die to-us, than to inarest and then. te
thafged and rate inérent ‘ara-satforth ‘aspactivaly.in.the Finance Charge and ‘Annual Percent 2 Rate

WHEN: YOU BEGIN-PAYING INTEREST: You. will begilt to pay interast on the,Lean ‘on your. Bisbursament Date, Your Disbursement, ‘Date’ is daterminad as follows: if you have chosen to: ‘tepay your
Loan via-an: Aulomated Claaringhouse (ACH) dabitta your Bank Account,-you will begin:to pay:us interest on the::oan-on the délé the procesds-of:ihe Loan are: deposited Into.your Bank
Accourit arid:such, date will be. your Disbursement Date: I you-have.chosen to repay your Loan via-cerlitied check. ormoney order, than:your.Joan proceeds wil be majted-io you at the:address:
on-your-application-and your Disbursement:Dateswill be-the date we mail'you such loan pr ds:check. Unavoidabie-dalays:asa:resulliaf. bank holidays; ihe. processing schedule of your
individual bank:.the untiinely-recaipt of pay stubs: Ifsuch pay-stibe are raquired,: ‘inadvertent’ ‘process! ing-errots, “acts‘of God" ‘and/or “acts’of terror. may. extand thé time iar disbursement.
interest is caleulsiad with espect ito this loan onthe unpaid amountof ihe Loan each day trom the Disbursemant Date onl tha‘ Loan and all related fees have baer pald in full. In-calculating your
Paynient:Schedule-and dach Payment Due Data, we have asstimed that you will make each payment on the Payriignt Dud Date in. We amount due. The first Anetalimant Pa@ricd-ga the Idan begins

with the Ehactive. Dateahd: ends on the first Payment Dua Bate. Thoteatter,’ gach \dstallment Period Segins | on the: Tits. date following ne Pyar D Due: Date a ands on the: riéxt ‘Pay maint: Bug.
‘ ua at iad you will-miake je

befara: the Payment Due Date, the frilarest as
Tima. tg of tha. dssance, which jeans’ ‘that ihero-an
be duéon the day before the’bank is dosed)

CALCULATION OF INTEREST-AND! PAYMENTS: The jiteraat changed Neraurideris eatculated’ ‘using the:siinpla. interest mnaitiod:and has-been comnplited upon the basis thatyou will. pay_-all
ingtalinents onthe schedulad Payment Dates, ‘You will anly:-be charged the sninimum payments as.stated ‘ahoya in your Paysrient Schedule: However, youcan make additional paymants towards

yourpnncipabat any time:

PREPAYMENT: You rnay prepay all ot part of the:amotint you -owe-us atany tlme.withourdn addiional prepayment panally, Hysu'de.so: you must pay the Inlerest- accrued on your Loan: ard all
other‘anioaunts‘due-up to the data of your, payment Prepaymanis ihakare. Jess than-the telat amount due to us will-be-rehecied in. your, firtal payment dua.

ATTORNEYS FEES RELATED 7@ COLLECTION, You understand that ify the event that. Landeris tequired to'eimiploy an atlomayéat law ta collect any amount due under this: Agrdéimant, you'vell be
required: to-pay:the faasonable (eed of-such atlamay to. Protect the interest of Lenderor to take: any: Other aetiod requiredte collactiha ‘aiounte due hereunder:

SECURITY. Pursiiant ta Comments, 2(an25) atthe Federal R Rasarve Board Offidal Statt' Commentary to Regulation’ ‘2 928,2:.we have disdosad to yourthat: ‘our interest in the. EGhacWACH®
Authaifzation isa sacuirily interest for Truth-in-Landing: fl rposas ‘nly,: because (aderal law-does hat. ‘clearly ‘address whether aur inteeestin the. Gheck/AGH ‘Auihorizatian Js-atsacurity interest’,

lf you'do net ‘guthorize-automatic payments, you are: nol giving us-a security interest:

NONSUFAICIENT FUNDS FEE (NSE FEE) You agree to pay $28: 00'if an item wv paymont of what you owe-ts retumed unpaid orthe Bank for-any reason rejectsian. ACH debilantry, the
at tion forwhich § -propetly revoked -by:you, You understand-and-agree thal yourbank may:algo charge you'a fee:tor tha presentation ofan insinmant fer. payment tor which there”

are insufficient funds available to pay:such instrument.

LATE PAYMENT FEE, You will be charged a fég.0f $30.00 for each. payment that is received aftar the applicable Payment Qua-Date,

RIGHT TO CANCEL: YOUMAY CANCEL THIS LOAN AND THE AGH AUTHORIZATION WITHOUT: COs: ‘OR FURTHER SELIGATION To U8; IFYOU 00 SO.WITHI 24 HOURS OF ste GOAN BEING
i ‘ight

aincallat "an ar “parars

ihe Careellation Oeadiina but afore: ne: foan procaads f

ank # obliga
Agrieament willbe raseiidad: Fawover, wa timely racei callalion Deadline but: ‘ater he ion procaeds have been daposited inte your

ws wrilien't nition’ of cancaltation. on: ‘Ot “Helore the

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Bank Account, then you’authonze us te offect.a debit to your Bank Account for the principal amount of this Agreement, then if we recaive paymant of the principal amount via the deblt, then both
your and our obligations under this Agrsament wilt be rescinded. If we'do not racaive payment of tha principal amount by debit ta your Bank Account tn eilhar of tha above situations, then this
Agreoment will remain in full forces and-effact.

‘DEFAULT: You will be jn default if you vo any of the tollowing:, (1) you provide false or misleading information to.us.in connection with this,Loan, (2) you fall to make.any payment dua te ws under
this Agroemant or any payment provided to us is.ratumed for any reason: or (3) you file bankruplcy or:bacome @ dabtor under applicable bankruptcy laws,”

CONSEQUENCES OF DEFAULT. It you dataxtt, we may, at our option do any'of the following (2s permitted under applicable law); (1). declare the entire unpaid principal balanca:and all accruad
unpaid and fees diately duo.and require you:to pay us everything you owe us; (2) withdraw. monay.from your Bank Account via ACH debit to obtain tha funds due to us under this
Agreement, if you'have provided.us with an‘AGH authorization to debit your Bank Account, and (3) obtain:a judgnientand take other-legal action’against you to obtain the:furids you we us: By
taking any-ot these actions agninst you, we retain the right to. use any other melhod. to obiain'the monay you owe Us, Failura.to use-any of these rights ‘against you does not moan. that wo give up

ny other right sled above.

CREDIT REPORTING: We miny report Information about your Loan to credit Late piiymients, missed pay/rients, or olher a¢bounit activity may be reflected on your credit roport,

CREDIT REPORTING VERIFICATION, ‘You agree tat We may:make inquiries conceming your credit history and standing, aiid may report Infotmation conceming your pérformanca undar this
Agreament lo cracit reporting’ agencies. You authorize us to venfy your past and/or present émploymiant histary and Income. Youraulhonze us to verity the information you provided to us In

conriaction withiyour Lean application, You give us oo $e oblain informailon’aboul you from.a consumer reporting agancy or olher sources, inctuding your bank. We reserve the right to
withhold funding of this Loan, st any time prior to disbursement, to allow Us to \uinly. the information you have provided to us.

BORROWER'S BANK CHARGES: You wall not hold us-or our agents respansitile for any fees you must pay aa tesull-of any-chack of withdrawal raques!. boing presented at.your bank In
lon with this Ag nt,

ASSIGNMENT, We may assignor transfer this Agreement oF any of our rights h der. This Ags t may not be assigr by. you.with our, piiar writian consent.

TIME PERIOD, Any cause of action arising from or ine tion with this‘Agreen shall be assirted within one (1) year of the'date upon which Such cause of action occurred, or (he date It
should have been hy dy wii is darlier; provided, f the it itation shall not apply to the collection of any amounts che under this Agroamant.

ACH AUTHORIZATION TO CREDIT BANK ACCOUNT: Unless the proceeds of this Agresmant are supplied to any outstanding loan balance thal you may owe to us or you notify:Us olherwiso, by.

plactrohically’signing.this Agreemant below, you aie choosing fo authorize us and our agents fo initlata an ‘Automated Cleating Hatise ("ACH") credit entry to your Bank Account to’ disburse the
procaeds.of this loan.

ACH DEBIT AUTHORIZATION: Uniess you chase to mail to usa check or mony: onder for payment for this.Loan, you heraby voluntarily authorize us, our agents and gur successors-and

assigns, to initiate automatic Gebit enisies out of your Bank Account identitiad above in accordance with this Agreement, including any returned { charges and {he fofal-amount you owe if
you'd not pay us wien you agreed in the:Agreement, You also authonize-us to initiale ACH debits to Your Bank Account in ordar to obtain pay ander. this Agreer Bye! ically
signing this‘Agraemant below, you ere aulhorzing us to initiate-2.singla debil-entry-out of Your Bank Account.via ACH for-sach of tha following amounts: (a) foreach Payment Amount onthe
Payment

Que Date, 33 descended in the Payment: Schedule above;

{d) for ‘any tate charges of fees accrued of eact Payment Due Date,

(¢) to recoup the outstanding balaned of the Total of Paymonts, on the next Payment Data, or thereatter, if you are in default; (d).for any. additional Finance Chatgés dectued according to this
Agreement, on, final. Payment Due Date, or hareafter.

You.agree: thal ws may.re-iniliste a debit enty for the-same amount if the ACH debit-enity 1s dish or payrriant jd returned (or any reason, TheACH Authorizations sot forth in this

Agreement are to remain in (ull force and effect for this lransaction untd your indebtedness to us for ths Total of Payments. plus any-olliar chatges oF {eas jicurred and described in this
Agrcamont, is fully satisfied. You may ‘only ravoke thé above aullorization by: contacting us diracily. If you (ovekd your authorization. you gre to provide Us with another form of payment
acceptanle lo us,

ff any #aymentis feturned unpald, you auihorizg Us to: make'a one-limo eloctronic fund transfer (rom your account (0 collect a fee of $25, You voluntarily. eulhorize us, our agents, and our
successor and aasign’, fo Initiate a dabil entry to Your Bank Account for payment of this fee, You-turiher authorize us to inlote debit ontries-as necessary to recoup the outstanding lean
balance whenaver an:ACH transaction is retumad to us for. any reason, If your pay Isr d to us by your financial institution due to-insufficient funds ora closed account; you agres that
we also may racover court.costs. and reasonable attorney's fags incurred by us,

You understand and‘agree-that this ACH autharizationss provided for your. convenience; and that you have:authorized repayment of your toan:. by ACH debits voluntarily, You agres tat you may
‘ropay your indabtodness through other moans. including by providing timaly payment via cashier's check or monay order directed to: Evergreen Sarvices,a Thbal LLC, PO Box 834, Lac du
Flambeau, W154538.

You authorize'us to.verity-and update:all of the information that you have provided regarding this ACH Authorization, induding past and/or current information.

NOTICE OF VARYING AMOUNTS: For thosd customers whe have chosdn the ACH Debit'Authorization, pleaseinole that you have we right (o'recoive notice of alt withdrawals trom your Bank
Acéount by'an ACK Debit ihat vary th amount. However, by agreeing to Fet us withdraw the money from your Bank Account, you agree We'only. have to ‘ell You the range of withdrawals that wa
can make, The range of withdrawals will be ellher an.amount equal to your payment due,ar:an sifiount equal to.tivo outstanding balanca uindar tho Loan {which may bé greator than or less than
ha paytiant due, as applicable), plus a retumed paynient fee as specified below, For any withdrawal auiside of this specitied range, we will send you 8 notce, Therofore, by signing this
Agreement balow. you are choosing to only receive notice when4 withdrawal exceeds the amount inthe specified range. You aulhorize us.lo-vary Ihe amount of any wilhdrawal'as needed to
fopay installments dus-on the t.can:as modified by any partial prepayments you make.

TERMINATING ACH DEBIT AUTHORIZATION: For twse custoniers who have chosen the ACH Debit Autharzalion, the ACH debit authorization yall romain

in full force and effect unlil the easier of the following occurs: ii) you satisfy all of your payment obligations under. this Agreement.or (i): you tell us or the Paymg Bank that we can no, longer
withdraw. monay trom your Bank Account in enough time (not fess’ than.ten business days prior to the scheduted debit date) to'let the-Paying Bank or us stop.taking the money out of your Bank
Account. Terminating your ACH authonzation dees not relieve yau of your-obligation to:psy your Loan in full:

YOU MAY REVOKE YOUR AUTHORIZATION TO, AUTOMATIC PAYMENTS AT.ANY TIME BY CONTACTING US DIRECTLY VIA PHONE NUMBER TO 866-328-2856 OR EMAIL

TO; custonrsanvicadbevacareeniogns com, Noleihat we will needa reasonable time. ta‘process your requastiand’you will-stll be responsible for payment. and agra ta contact us immediately to
nolify us of haw you era planning to make your naxt payment due.

For the purposes of these disclosures, our business days are Monday through Friday, 8:00 AM CST (0'6:00 PM CST.
A. Bank Nama:

Ifyou choose the ACH payment option below, you authorize us to affect ACH dobit and credit-entrias referencod above for this loan, you also agree to the ACH
Authorizations set forth in this Agre t:-You ack Wadgo and:agree that this ACH Autharlzation to Crodit. and Debit Bank Account Inures to the benafit of Evergroon
Services,.a Tribal LUG, Its-affillates, agonts, employeas, successors, and registered assigns-and that choosing ACH as your payment method Is an, option and is not
roquired {n orderto obtain.2 loan from Evergreen Services;

9 heii ts bon Yul Ftaiy AGREE ne ws th ACH Autetaaton Bacon i AMER Ye DERSTAND AND AGHEE THAT THIS LOANISNOT
CONDITIONEH ON PAYMIENT.SV.ACH AND THAT YOU MAY.PAYBY PAPER CHECK MONEY ORDER OR BY SIN THS AGREEMENT,

PAYMENT BY MONEY ORDER; You may fay any. payment owing undor this Agreement by money. order,

CHECK CONVERSION NOTIFICATION: Wwiien you provide a.check as payment, you agfe@ we can either-use information from your check to make aone- lime atactronic wahdrawal from your
Bank Account or to:process the payment as a check transaction, When we use infomation from your check to maka a.withidrawal from your Bank Account, fonds may be withdrawn from your
Benk Account as son asthe seme day wp receive your payment.and you will net recelve your check back from your financial institution, Far questions; please call our customer service phone.

number. 1-868-328-2556.

Rev, June 2020

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rN 08S) WHAT DOES OPICHI LLC OBA: EVERGREEN SERVICES CEVERGREEN SERVICES’) DO-ITH YOUR PERSONAL INFORMATION?

Financial narapaniea choose how (hey share your personal information, Federal law gives consuiiers the right to limit sori’ bit net all sharhg: Federal law aled requiras.us‘to: tail you
how.we eolfed’, shares and protec) yourpersonal information. Please read Inianatice carefully losuiidarsiand what wedo.

Why?

Thastypas-of personal. infomation we enllactand-shate depend an-the:productor-service-yau have wih-us. this: information can includes

Sovlal Seeurtly number
tacoma wed account transactions.

iba andpaymant history
Credit history and credit-scores

eee ®

How? Alt financial. campacies negd.to- share cus ars” par i i to nin their-everyday-businass. In the:section.below,.we'liat the retat parti ahare lngir.
. evstomiers’ personal information; the s Evergrasn Servi ‘noges'th share; and whether you-can limit this sharing.

Reasons we can share your personal information Does Evergreen Services Gan you limit the'sharing?
Por our everyday busli p such as fo process-your transactions: maintain NO
yourascount(s), redpord ii eoutt arders-and legal: invastigallong; or report to credit:
bureaus;
citing purowas - 10 oer our predicts and Servicex.to you YES No
For jolnt- marketing with dther financial companies NO WE DO.NOT SHARE
For our affiliates everyday b SS puipases » information aout your transaations ¥ES NO:
and axporliricen : ~ “
For our affitistes avoryday business purposes - information about your, VES YES
sraditworihiness:
Far. our affiliates to. market to you YES yES
For our nonaffiliates- io markal to you YES NES
CAN 886-328-2590 ~ our inignuwdl ‘prempl you: through: your ahelce(s) ¢ oF
o SEnvail ux ak Sislomatiarvicemievergreantoapn, sank
To: Cimit Our. BI Note: I-you-are anew: vweresn continue, sharing your intormatinn’30 daysfrom the date.we provide. youths: notice: Ahan you-are nojlonger our-customer;

Sharing 2 we.continua to-share your information, as dascribed in this. notice,
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Lender: Evergteen Semices, LLC

Michelle Rankin

First Name: mote Gast Name: Rankin. Dates 9/20/2021

